         Case
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                 United States Court of Appeals
                                  For the First Circuit
                                     _____________________
No. 16-1567

                                         UNITED STATES,

                                              Appellant,

                                                  v.

                                           ALEX LEVIN,

                                        Defendant, Appellee.

                                       __________________

                                                Before

                                  Thompson, Kayatta and Barron,
                                        Circuit Judges.
                                     __________________

                                       ORDER OF COURT

                                      Entered: August 24, 2016

        To the extent that any transfer of jurisdiction is necessary, the defendant's motion to transfer
limited jurisdiction of the case to the district court for the sole purpose of filing and adjudicating a
motion to revise his bail conditions in that court is allowed. We express no opinion as to whether
the bail conditions should be modified.

                                                         By the Court:

                                                         /s/ Margaret Carter, Clerk

cc:
Honorable William G. Young
Robert Farrell, Clerk of Court
J. W. Carney Jr.
Samir Zaganjori
Nathaniel Dolcort-Silver
Kelly Begg Lawrence
David Gerard Tobin
Dina Michael Chaitowitz
Jordi de Llano Campos
